Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.93 Page 1of 75

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DISTRICT
MERCEDES BENZ USA LLC, 2:19-CV-10949-AC-EAS
Plaintiff, Honorable Avern Cohn
District Court Judge

Vv.
Honorable Elizabeth A. Stafford

JEFF SOTO AND MAXX GRAMAJO, Magistrate Judge

 

Defendants. DECLARATION OF JEFFREY
GLUCK IN SUPPORT OF
DEFENDANTS’ MOTION TO
DISMISS

 

 

 

I, Jeffrey Gluck, hereby declare as follows:

1. I am an attorney authorized to practice in California and New York,
and counsel for Defendants Jeff Soto and Maxx Gramajo (collectively referred to
as the “Artists”’) in this action. I have personal knowledge of the matters set forth
herein, and if called upon to testify, could and would competently do so.

D, In its Complaint, Plaintiff Mercedes Benz USA LLC (““MBZ”’)
acknowledges only limited use of the Artists’ mural, stating that 1t used the mural
“in one of [MBZ’s] Instagram posts about its G 500 Series truck.” MBZ vastly
understates its infringement. MBZ widely published and distributed (and continues
to publish) infringing photos well beyond a single Instagram post. Indeed, as
shown in the attached Exhibit A, MBZ is still using the photos as advertising
material on its corporate website.

3. MBZ is a frequent and prolific user of graffiti in its advertising. For
example, on the same day MBZ filed this lawsuit, it posted a four-minute video

“brochure” for its 2019 G-Class vehicle, prominently featuring a mural by French
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.94 Page 2 of 75

street artist Astro. This video is featured on MBZ’s YouTube channel which has
over 430,000 subscribers. hitps://www,youtube.com/watch?v=XweXBYap_ GO
(last visited April 11, 2019). A screenshot of this video is attached as Exhibit B. As
of April 11, 2019, the video has been viewed over 163,000 times.

4. On or about March 1, 2019, I contacted MBZ’s counsel in New York
to demand that MBZ cease and desist using images featuring the Artists’ work, and
continued corresponding via email and telephone with MBZ’s New York counsel
up until March 29, 2019 when, without warning, MBZ filed its Complaint. None of
this correspondence occurred in Michigan, nor was it directed to anyone in
Michigan.

3. It has been widely reported that MBZ is domiciled in Atlanta,
Georgia, having relocated its headquarters there in 2017. MBZ’s announcement of
this relocation was reported in a January 6, 2015 article published by Reuters, a
true and correct copy of which is attached as Exhibit C.

6. The Artists painted the Mural at issue in this case on the southwest
side of the Gratiot Central Market, located at 1429 Gratiot Avenue, Detroit, MI. As
shown in archival photographs available on the Detroit Historical Society’s
website, this building has had the same facade since at least 1975. Attached as
Exhibit D is a true and correct copy of a photograph available at
https://detroithistorical.pastperfectonline.com/photo/7AA377D0-B549-421F-
818A-659336065513 (last accessed on April 11, 2019).

7. Attached as Exhibit E is a true and correct copy of House of
Representatives Report 101-735, re the Copyright Amendments Act of 1990,
published September 21, 1990; which I obtained from Lexis Nexis.

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.95 Page 3 of 75

Ml
I declare under penalty of perjury under the laws of the United States that
the foregoing is true and correct.

Executed April 23, 2019, at Los Angeles, California.

/s/
Jeffrey Gluck

 
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelID.96 Page 4of 75

Certificate of Service
I certify that on April 24, 2019, I electronically filed the foregoing paper with the
Clerk of the Court using the EFC system which sends notification of such filing to

all counsel of record.

/s/ Lisa Kwiecinski

Lisa Kwiecinski

Legal Assistant

Lippitt O’Keefe Gornbein, PLLC
370 E. Maple Road, 3 Floor
Birmingham, MI 48009

(248) 646-8292
Ikwiecinski@lippittokeefe.com

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.97 Page 5of 75

EXHIBIT A.
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.98 Page 6 of 75

All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

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G-Class Offers Off Road™
Dominance and aN eee

Comfort

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https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 1 of 31

 
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz

2018 with
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G-CLASS

WORDS ANNA JAMES
JANUARY 17, 2018

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/

4/11/19, 1:59 PM

Detroit at the North American International
Auto Show (NAJAS), Mercedes revealed and
put on full display the all new and exceptionally
capable and now road worthy G-Class. The off-
road legend will has underwent its biggest
makeover in its history, maintaining all of its off-
roading abilities but adding in comfort only

found in a Mercedes-Benz.

The most recognizable changes are on the inside. Unlike the
previous-generation G-Class that wasn’t quite up to date in
terms of interior comforts, the 2019 model is filled with
creature comforts. Like other new Mercedes models, you can
choose from a variety of options including having the
dashboard loaded with dual 12.3-inch screens. The interior
also got a massive expansion. Legroom up front has an
increase of 1.5 inches and rear legroom is extended by a
massive 5.9 inches. Shoulder and hip room also sees

improvement in both rear rows between 1 and 3 inches.

If youre a fan of the original interior, youre likely cursing
Mercedes-Benz and their design team. Curse not, several
traditional G-Class hallmarks remain, including the
passenger grab handle and the three differential locks on the
center stack. Both rows have standard heated seats, with

massage and rapid-heating functions available as an option.

To start, the G-Class will be available in just the G550 trim.
The engine is a 4.0-liter V8 putting out 416 horsepower and
450 pound-feet of torque. it comes mated to a new nine-
speed automatic transmission. Expect AMG variants to
arrive later on, likely at other auto shows throughout this
year and 2019.

Page 2 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

The previous model had awful recirculating-ball steering, but
this new G-Class packs a vastly improved electromechanical
rack-and-pinion setup. There’s also a new front independent

suspension, but the rear retains its old-school solid rear axle.

the G-Class packs anew “G-Mode.” This mode automatically
turns on when one of the differential locks engages. It
changes the dampers, steering and throttle systems to work

better in off-road situations.

The 2019 Mercedes-Benz G-Class will go on sale later this

year. Pricing will be announced closer to the launch date.

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https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 3 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 4 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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Ail New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.115 Page 23 of 75

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.116 Page 24 of 75

All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 19 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 20 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 21 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 23 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

In addition to the G-Class, also on display at NATAS are three
new models and anew model designation. Luanching is the
53-series models of the CLS, E-Class Coupé and E-Class
Cabriolet (combined fuel consumption: 8.5 - 8.41/100 km;
combined CO2 emissions: 201 - 200 g/km).

They combine powerful performance with sporty style and
high efficiency. At their heart lies a new, electrified 3.0-litre
engine featuring twin-turbocharging by means of an exhaust
gas turbocharger and an electric auxiliary compressor. The
6-cylinder in-line engine generates 320 kW (435 hp) and

delivers maximum torque of 520 Nm.

MORE: AUTOS, MERCEDES-BENZ, G-CLASS

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https://emercedesbenz.com/autos/mercedes-benz/g-class/all-new-mercedes-benz-g-class-offers-off-road-dominance-and-driving-comfort/ Page 29 of 31
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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

 

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All New Mercedes-Benz G-Class Offers Off-Road Dominance and Driving Comfort | eMercedesBenz 4/11/19, 1:59 PM

 

 

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EXHIBIT B.
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.130 Page 38 of 75

3 YouTube

Be So as

 

Mercedes-Benz 2019 G-Class - Video Brochure
163,930 views 1@ 32k

Mercedes-Benz USA &
Published on Mar 29, 2019

After 40 years, Mercedes-Benz’s most iconic SUV, the G-Class, gets an upgrade, This film highlights
the new features of the redesigned 2019 G-Class, Including a state-of-the-art cockpit and updated
exterior trims. Learn more about the 2079 G-Class at: https://www.mbusa.com/en/vehicles/cla...,

To see all of our latest videos, subscribe to our YouTube Channel:
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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.131 Page 39 of 75

EXHIBIT C.
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.132 Page 40 of 75

Mercedes-Benz says will move U.S. headquarters to Atlanta - Reuters 4/11/19, 2:19 PM

Mercedes-Benz says will move U.S.
headquarters to Atlanta

Dieter Zetsche, head of Mercedes-Benz cars, looks on during the 2015 International Consumer Electronics Show

(CES) in Las Vegas, Nevada January 5, 2015. REUTERS/Steve Marcus

DETROIT (Reuters) - Mercedes-Benz will move its U.S. headquarters to
Atlanta from northern New Jersey, affecting about 1,000 employees, the
company said on Tuesday.

The Daimler AG unit is moving to cut costs, including those for cost-of-
living and taxes, a source familiar with the brand's plans said earlier on
Tuesday.

The new headquarters would be closer to the company’s assembly plant in
Tuscaloosa, Alabama and its port in Brunswick, Georgia. The current
headquarters is in Montvale, New Jersey.

Mercedes-Benz, the No. 2 seller of luxury automobiles in the United States,
said the move would “better serve its growing customer base and
strengthen the company’s position for long-term, sustainable growth.”

“The state (of New Jersey) has worked tirelessly with us as we evaluated
our options,” Steve Cannon, U.S. chief of the brand, said in a statement.

“Ultimately, though, it became apparent that to achieve the sustained,
profitable growth and efficiencies we require for the decades ahead, our
headquarters would have to be located elsewhere.”

Reporting by Bernie Woodall; Editing by Chizu Nomiyama and Richard
Chang

https://www.reuters.com/articte/us-daimler-usa/mercedes-benz-says-will-move-u-s-headquarters-to-atlanta-idUSKBNOKF17D20150106 Page 1 of 2
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Mercedes-Benz says will move U.S. headquarters to Atlanta - Reuters 4/11/19, 2:19 PM

https://www.reuters,com/article/us-daimler-usa/mercedes-benz-says-will-move-u-s-headquarters-to-atlanta-idUSKBNOKF17D20150106 Page 2 of 2
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EXHIBIT D.
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.135 Page 43 of 75

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.136 Page 44 of 75

2009,019.395 - Print, Photographic 4/11/19, 2:46 PM

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Catalog Number 2009.019.395
Object Name Print, Photographic

Black and white photo of Northwestern K & L
Meat Company, Busy Bee Hardware, and Al's

 

' Description Discount Food located on the north side of

| Gratiot Avenue, west of Russell Street.

j
Date c. 1975
Print size 8.0" x 10.0" |

Dimension Details Image size: 7.750" x 9.625

Collection Detroit Views
Gratiot Avenue
Storefronts
Search Terms Eastern Market

Hardware Stores
Grocery Stores

 

 

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Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.137 Page 45 of 75

EXHIBIT E.
Case 2:19-cv-10949-AC-EAS ECF No. 10 filed 04/24/19 PagelD.138 Page 46 of 75

101st CONGRESS REPorT
9d Session HOUSE OF REPRESENTATIVES 101-735

 

 

COPYRIGHT AMENDMENTS ACT OF 1990

SEPTEMBER 21, 1990.—Committed to the Committee of the Whole House on the State
of the Union and ordered to be printed

Mr. Brooks, from the Committee on the Judiciary,
submitted the following

REPORT

{To accompany H.R. 5498]

{Including cost estimate of the Congressional Budget Office]

The Committee on the Judiciary, to whom was referred the bill
(H.R. 5498) to amend title 17, United States Code, relating to com-
puter software, fair use, and architectural works, having consid-
ered the same, report favorably thereon with an amendment and
recommend that the bill as amended do pass.

The amendment is as follows:

Strike out all after the enacting clause and insert in lieu thereof

the following:

SECTION 1. SHORT TITLE.
This Act may be cited as the “Copyright Amendments Act of 1990”.

TITLE I—COMPUTER SOFTWARE

SEC, 101. SHORT TITLE.
ane title may be cited as the “Computer Software Rental Amendments Act of

SEC. 102. RENTAL OF COMPUTER PROGRAMS.

Section 109(b) of title 17, United States Code, is amended—
o by redesignating paragraphs (2) and (3) as paragraphs (3) and (4), reapec-
tively;
(2) by striking paragraph (1) and inserting the following:
“(bX1XA) Notwithstanding the provisions of subsection (a), unless authorized by
the owners of copyright in the sound recording or the owner of copyright in a com-
puter program (including any tape, disk, or other medium embodying such pro-
gram), and in the case of a sound recording in the musica] works embodied therein,
neither the owner of a particular phonorecord nor any person in possession of a par-
ticular copy of a computer program (including any tape, disk, or other medium em-
bedying such program), may, for the purposes of direct or indirect commercial ad-
vantage, dispose of, or authorize the disposal of, the possession of that phonorecord
or computer program (including any tape, disk, or other medium embodying such

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program) by rental, lease, or lending, or by any other act or practice in the natury
of rental, lease, or lending. Nothing in the preceding sentence shall apply to th:
rental, lease, or lending of a phonorecord for nonprofit purposes by a nonprofit jj.
brary or nonprofit educational institution. The transfer of possession of a la
made copy of a computer program by a nonprofit educational institution to another
nonprofit educational institution or to faculty, staff, and students does not consti.
tute rental, lease, or lending for direct or indirect commercial purposes under this
subsection.

“(B) This subsection does not apply to—

“G) a computer program which is embodied in a machine or product and
which cannot be copied during the ordinary operation or use of the machine or
roduct; or
P "(j) a computer program embodied in or used in conjunction with a limited
purpose computer that is designed for playing video games and may be designed
for other purposes. _.

“(C) Nothing in this subsection affects any provision of chapter 9 of this title.

‘(2A) Nothing in this subsection shall apply to the lending of a computer pm
gram for nonprofit purposes by a nonprofit library, if each copy of a computer pr
gram which is lent by such library has affixed to the packaging containing the pro
gram a warning of copyright in accordance with requirements that the Register of
Copyrights shall prescribe by regulation.

“(B) Not later than three years after the date of the enactment of the Computer
Software Rental Amendments Act of 1990, and at such times thereafter aa the Reg-
ister of Copyright considers appropriate, the Register of Copyrights, after consulta-
tion with representatives of copyright owners and librarians, shall submit to the
Congress a report stating whether this paragraph has achieved its intended purpose
of maintaining the integrity of the copyright system while providing nonprofit i
braries the capability to fulfill their function. Such report shall advise the Congres
as to any information or recommendations that the Register of Copyrights considers
necessary to carry out the purposes of this subsection.”; and

(3) by striking paragraph (4), as redesignated by paragraph (1) of this section,
and inserting the following:

(4) Any person who distributes a phonorecord or a copy of a computer program
(including any tape, disk, or.other medium embodying such program) in violation of
paragraph (1) is an infringer of copyright under section 501 of this title and is sub
ject to the remedies set forth in sections 502, 503, 504, 505, and 509. Such violation
shal} not be a criminal offense under section 506 or cause such person to be subject
to the criminal penalties set forth in section 2319 of title 18.”.

SEC. 103. PUBLIC DISPLAY OF ELECTRONIC VIDEO GAMES.

Section 109 of title 17, United States Code, igs amended by adding at the end the
following:

“(e) Notwithstanding the provisions of sections 106(4) and 106(5), in the case of an
electronic audiovisual game intended for use in coin-operated equipment, the owner
of a particular copy of such a game lawfully made under this title, is entitled, with-
out the authority of the copyright owner of the game, to publicly perform or display
that game in coin-operated equipment, except that this subsection shall not apply to
any work of authorship embodied in the audiovisual game if the copyright owner of
the electronic audiovisual game is not also the copyright owner of the work of au-
thorship.”.

SEC. 104. EFFECTIVE DATE.

(a) IN GenERAL.—Subject to subsection (b), the amendments made by this title
shall take effect on the date of the enactment of this Act.

(b) Prospective AppLicaTion.—Section 10%b) of title 17, United Statea Code, as
amended by section 102 of this Act, shall not affect the right of a person in posses
sion of a particular copy of a computer program, who acquired such copy before the
date of the enactment of this Act, to dispose of the possession of that copy on or
after such date of enactment in any manner permitted by section 109 of title 11,
United States Code, as in effect on the day before such date of enactment.

(c) Tenminarion.—The amendments made by section 102 shall not apply to rent
als, leasings, or lendings (or acts or practices in the nature of rentals, leasings, of
lendings) occurring on or after October 1, 1997.

SEC. 105. RECORDATION OF SHAREWARE.

4 (a) IN GeNERAL.—The Register of Copyrights is authorized, upon receipt of any
ocument designated as pertaining to computer shareware and the fee prescribed by
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section 708 of title 17, United States Code, to record the document and return it
with a certificate of recordation.

(b) MAINTENANCE OF Recorps; PusLicaTION OF INFORMATION.—The Register of
Copyrights is authorized to maintain current, separate records relating to the recor-
dation of documents under subsection (a), and to compile and publish at periodic in-
tervals information relating to such recordations. Such publications shall be offered
for sale to the public at prices based on the cost of reproduction and distribution.

(c) Derosrr or Copizs IN Liprary oF ConGress.—In the case of public domain com-
puter shareware, at the election of the person recording a document under subsec-
tion (a), 2 complete copies of the best edition (as defined in section 101 of title 17,
United States Code) of the computer shareware as embodied in machine-readable
form may be deposited for the benefit of the Machine-readable Collections Reading
Room of the Library of Congress.

(d) RecuLations.—The Register of Copyrights is authorized to establish regula-
tions not inconsistent with law for the administration of the functions of the Regis-
ter under this section. All regulations established by the Register are subject to the
approval of the Librarian of Congress.

TITLE II—-ARCHITECTURAL WORKS

BEC. 201. SHORT TITLE.
This title may be cited as the “Architectural Works Copyright Protection Act”.

SEC. 202, DEFINITIONS.
(a) ARCHITECTURAL Worxs.—Section 101 of title 17, United States Code, is amend-
ed by inserting after the definition of ‘anonymous work” the following:

“An ‘architectural work’ is the design of a building as embodied in any tangi-
ble medium of expression, including a building, architectural plans, or draw-
ings. The work includes the overall form as well as the arrangement and com-
position of spaces and elements in the design, but does not include individual
standard features.”’.

(b) BERNE CONVENTION WorK.—Section 101 of title 17, United States Code, is
amended in the definition of “Berne Convention work’’—

(1) in paragraph (3XB) by striking “or” after the semicolon;

(2) in paragraph (4) by striking the period and inserting “; or’; and

(3) by inserting after paragraph (4) the following:

“(5) in the case of an architectural work embodied in a building, such building
is erected in a country adhering to the Berne Convention.”.

SEC. 203, SUBJECT MATTER OF COPYRIGHT.
Section 102(a) of title 17, United States Code, is amended—
(1) in paragraph (6) by striking “and” after the semicolon;
(2) in paragraph (7) by striking the period and inserting “; and”; and
_ (8) by adding after paragraph (7) the following: “(8) architectural works.”’.
BEC. 204. SCOPE OF EXCLUSIVE RIGHTS IN ARCHITECTURAL WORKS.

(a) In GenznaL.—Chapter 1 of title 17, United States Code, is amended by adding
at the end the following:

“8120. Scope of exclusive rights in architectural works

“(a) PicrorilaL REPRESENTATIONS PERMITTED.—The copyright in an architectural
work that has been constructed does not include the right to prevent the making,
distributing, or public display of pictures, paintings, photographs, or other pictorial
representations of the work, if the building in which the work is embodied is located
in or ordinarily visible from a public place.

“(b) ALTERATIONS TO AND DestrucTION oF BuiLpincs.—Notwithstanding the provi-
sions of section 106(2), the owners of a building embodying an architectural work
may, without the consent of the author or copyright owner of the architectural
work, make or authorize the making of alterations to such building, and destroy or
authorize the destruction of such building.”.

(b) Conrorminc AMENDMENTS.—(1) The table of sections at the beginning of chap-
ter 1 of title 17, United States Code, is amended by adding at the end of the follow-
ing:

"120. Scope of exclusive rights in architectural works.”
_ (2) Section 106 of title 17, United States Code, is amended by striking “119” and
luserting “120”.
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SEC. 205. PREEMPTION.
Section 301(b) of title 17, United States Code, is amended—
(1) in paragraph (2) by striking “or” after the semicolon;
(2) in paragraph (3) by striking the period and inserting “; or”; and
(3) by adding after paragraph (3) the following: .
'(4) State and local landmarks, historic preservation, zoning, or building
codes, relating to architectural works protected under section 102(aX8).”.
SEC. 206. EFFECTIVE DATE.

the amendments made by this title apply to—
(1) any architectural work created on or after the date of the enactment of
this Act; and
(2) any architectural work that, on the date of the enactment of this Act, is
unconstructed and embodied in unpublished plans or drawings, except that pro
tection for such architectural work under title 17, United States Code, by virtue
of the amendments made by this title, shal! terminate on December 31, 2002,
unless the work is constructed by that date.

EXPLANATION OF AMENDMENT

Inasmuch as H.R. 5498 was ordred reported with a single amend-
ment in the nature of a substitute, the contents of this report con-
stitute an explanation of that amendment.

SUMMARY AND PURPOSE

H.R. 5498 manifests two distinct purposes in its amendments to
the Copyright Act.

First, Title I represents a narrowly drafted exception to the first
sale doctrine of copyright law by prohibiting direct or indirect com-
mercial rental of computer software. Provisions have been included
to permit lending by nonprofit libraries and education institutions,
rental of machines or products embodying computer programs, and
rental of electronic audiovisual games used in connection with lim-
ited purpose computers. Title I expires on October 1, 1997.

Second, Title II places the United States in full compliance with
its multilateral treaty obligations as specified in the Berne Conven-
tion for the Protection of Literary and Artistic Works with respect
to works of architecture, by creating a new category of copyright
subject matter for the constructed design of buildings.

STATEMENT OF LEGISLATIVE HISTORY
TITLE I.— COMPUTER SOFTWARE RENTAL

Computers have become commonplace in government, our homes
and offices, and business enterprises. Software—the technology
that makes computers work—is of pivotal importance to the
United States, which is the world’s leader in this unique form of
creativity.

Title I of H.R. 5498 relates principally to the rental of computer
software and owes its genesis to a bill (H.R. 2740) orginally intro
duced by Mr. Synar, Mr. Moorhead and several other Members of
the Committee (Mr. Fish, Mr. Hughes, Mr. Glickman, Mr. Frank,
vad Berman, Mr. Bryant, Mr. Sangmeister, and Mr. Levine of Cali
ornia),

The bill was not drafted on a clean legal slate. In 1980 Congress
amended the Copyright Act to provide a definition of computer pro
gram, and at the same time adding certain limitations on computer
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copyright owners’ rights to protect the public interest. In 1984 Con-
gress passed legislation drafted by this subcommittee that created a
freestanding—or sui generis—protection of ten-years duration for
mask works. In that same year, Congress prohibited direct or indi-
rect rental of phonorecords.

Earlier in the 101st Congress, the Committee—acting through
the Subcommittee—held two days of oversight hearings on comput-
ers and intellectual property.! Testimony was received from a di-
verse group of witnesses with expertise on the subject. Several of
the witnesses were questioned about computer software rental.

On May 1, 1990, companion legislation passed the United States
Senate in the form of S. 198.2

On July 30, 1990, the Subcommittee held a legislative hearing on
computer software and first sale reform.* Testimony was presented
by the Register of Copyrights (Ralph Oman), the Software Rental
Coalition (R. Duff Thompson), UNISYS Corporation (Robert S.
Bramson), EDUCOM (Professor Frank Connolly), Mediagenic, Inc.,
a video game manufacturer (Bruce L. Davis), the Video Software
Dealers Association (Thomas W. Carton), and the American Opera-
tors for Equal Treatment (William A. Beckham). Written state-
ments were submitted by the Administration, the American
Amusement Machine Association (AAMA), the Amusement and
Music Operators Association (AMOA), the American Council on
Education, and Hertz Corporation, among others.

On August 3, 1990, the Chairman of the Subcommitte (Mr. Kas-
tenmeier), joined by two cosponsors (Mr. Synar and Mr. Moorhead),
introduced an omnibus copyright reform measure (H.R. 5498)
which included three Titles: (I) computer software rental reform;
(Il) “fair use” reform; and (IID) architectural works copyright pro-
tection.

On September 14, 1990, the Subcommittee marked up H.R. 5498
and, a quorum of Members being present, ordered the bill favor-
ably reported to the full Committee by voice vote with no objec-
tions being heard. Two amendments were adopted, the first being a
substitute amendment relating to computer software rental offered
by Mr. Synar (on behalf of himself and Chairman Kastenmeier).
The second, offered by Mr. Kastenmeier, deleted Title II (‘fair
use’) from the bill. Pursuant to motion, the two amendments were
incorporated in an amendment in the nature of a substitute.

TITLE 11.—ARCHITECTURAL WORKS

Architecture is a form of artistic expression that performs a sig-
nificant societal purpose, domestically and internationally.

The 100th Congress passed legislation (Public Law 100-568), ena-
bling the U.S. to meet the requirements of the Berne Convention
for the Protection of Literary and Artistic Works. As a result of

‘See Computers and Intellectual Property—Oversight: Hearings Before the Subcomm. On
Courts, Intellectual Property, and the Administration of Justice of the House Comm. on the Ju-
diciary, 101st Cong., lst & 2d Sess. (1989-90) [hereinafter “Oversight Hearings |

2§8ee S. Rep. No. 101-265, 101st Cong., 2d Hs (1990). See also, 136 Cong. Rec. $5533 (daily ed.,
May 1, 1990) (remarks of Senator Orrin Hatch, explaining Senate floor amendments).

*See Computer Software Rental Amendments Act (H.R. 2740, H.R. 6297, and S. 198): Hearing
Before the Subcomm, on Courts, Intellectual Property, and the Administration of Justice of the
House Comm. on the Judiciary, 101st Cong., 2d . (1989) [hereinafter ‘‘Software Rental Hear-

ing”).
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this legislation and Senate ratification of the Berne Treaty, on
March 1, 1989, the U.S. became a signatory to the world’s most im-
portant copyright convention. As part of the effort to make US,
law compatible with Berne standards, Congress noted that the pro-
tectible subject matter enumerated in Article 2(1) of the treaty in.
cludes ‘‘works of architecture.”

In the wake of Berne adherence, Chairman Robert W. Kasten.
meier (Chairman of the Subcommittee on Courts, Intellectual Prop.
erty, and the Administration of Justice) asked the Copyright Office
to conduct a study of the architectural works protection issue. In
response, Register of Copyrights, Ralph Oman, presented a report
of the Copyright Office study to Chairman Kastenmeier at a June
19, 1989, press conference in the Madison Building of the Library
of Congress. The report concluded that while architectural blue
prints, plans, drawings, and models relating to works of architec.
ture are adequately protected by U.S. copyright law, the adequacy
of protection under Berne Convention standards for the construct-
ed design of architectural structures remains in doubt.

During the 101st Congress, two bills were introduced by Chair-
man Kastenmeier to address the Register’s concerns: H.R. 3990 (the
“Architectural Works Copyright Protection Act of 1990”); and HR.
3991 (the “Unique Architectural Structures Copyright Act of
1990”),

On March 14, 1990, the Subcommittee held a legislative hearing
during which testimony was received from the following witnesses:
a well-known American architect (Michael Graves, FAIA); the Reg-
ister of Copyrights (Ralph Oman); an Administration witness (Hon-
orable Jeffrey M. Samuels), the American Institute of Architects
(David A. Daileda, AIA); and The Frank Lloyd Wright Foundation
(Richard Carney, Managing Trustee, Chief Executive Officer). Writ
ten statements were received from the American Consulting Engi-
oe Council and the American Society of Magazine Photogra-
phers.

Following this hearing, on August 3, 1990, Mr. Kastenmeier,
joined by Mr. Synar and Mr. Moorhead, introduced revised provi-
sions protecting architectural works as Title III of H.R. 5498, the
omnibus copyright reform measure referred to above. In this form,
the proposal was marked up by the Subcommittee on September
14, 1990, and a quorum of Members being present, ordered the bill
favorably reported to the full Committee by voice with no objec-
tions being heard.®

CoMMITTEE ACTION AND VOTE

On September 18, 1990, the full Committee considered H.R. 5498.
An amendment was offered (by Mr. Hyde) to delete section 103 re-
lating to the public display of electronic video games. After debate,
the amendment was defeated by voice vote. After adoption of the

_ * See Hearing on Architectural Design Protection Before the Subcomm. on Courts, Intellectual
Property, and the Administration of Justice of the House Comm. on the Judiciary, 10lst Cong.
2d Sess. (1990) [hereinafter referred to as “Architectural Design Hearings”).

* With the deletion of fair use reform from H.R. 5498, architectural works protection, former
ly Title III, became Title II.
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Subcommittee substitute amendment, the Committee ordered the
bill favorably reported by voice vote with a quorum present.

Discussion
TITLE I.—COMPUTER SOFTWARE RENTAL

One of the most important limitations on copyright owners’ ex-
clusive rights is embodied in section 109 of title 17, United States
Code. This section incorporates the so-called “first sale” doctine.
Under this doctrine, the owner of a lawfully made copy of a work
is entitled to sell or otherwise dispose of that copy and to display
the copy publicly without obtaining the copyright owner’s permis-
sion. For example, a student who purchases anthology of poetry for
literature class may sell that copy to a secondhand book store,
which may in turn sell the copy to the public. A grocery store may
purchase copies of video cassettes and rent those copies to its cus-
we A museum may display a painting it purchases from an art

ealer.

Section 109(a) of title 17, United States Code, is structured as an
exception to the copyright owner’s section 106(8) right of distribu-
tion. Section 109(b) of title 17, United States Code, is structured as
an exception to the copyright owner’s section 106(5) public display
right. These sections do not act as a limitation on the other exclu-
sive rights granted copyright owners in section 106, title 17, United
States Code. For example, an owner of a lawfully made copy may
not, without the permission of the copyright owner (or availability
of a statutory defense) ® reproduce copies of the work, prepare de-
rivative works, or publicly perform the work.

The first sale doctrine represents an important balancing of in-
terests. The doctrine prohibits copyright owners from controlling
the terms and conditions of further distribution of lawfully made
copies of a work once the initial authorized distribution of those
copies has taken place. At the same time, the limitations on the
doctrine preserve other, essential rights of copyright owners, in-
cluding the right to authorize public performances. Congress has,
in the past, resisted proposals to alter the balance achieved in sec-
tion 109, requiring those seeking amendments to make a compel-
ling case for change. Proposals to reform the first sale doctrine are
neither easy nor without controversy. They occur in a shifting
legal, technological and economic landscape.

Frequently, calls to amend the first sale doctrine are made in re-
sponse to a new technology developed for reproduction of copyright-
ed works. Even though the 1976 Copyright Act was carefully draft-
ed to be flexible enough to be applied to future innovations, tech-
nology has a habit of outstripping even the most flexible statutes.
Copyright is, in large part, a response to new technology. Yet, tech-
nology has been both a boon and a bane to authors: a boon because
it has fostered new methods of creation and distribution; a bane be-
cause it has also resulted in inexpensive, easy, and quick ways to
reproduce copyrighted works, in many cases in private or sem1-pri-
vate environments that render detection all but impossible.

®*In the case of computer programs, a special exemption is provided in section 117, title 17,
United States Code, for the making of back-up and archival copies.
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In 1984, Congress was presented with evidence demonstrating
that the nascent record rental business posed a genuine threat to
the record industry. Copies of phonorecords were being rented at a
fraction of their cost, in conjunction with advertisements exhorti
customers to ‘never buy another record.” Congress responded by
prohibiting the rental of phonorecords for purposes of direct or in-
direct commercial advantage.’ . ;

Congress has now been presented with similar evidence by the
computer software industry. Indeed, in some respects, the evidence
is even more compelling in the case of software.® The price dispari-
ty between the sale and rental prices is greater than the case with
phonorecords: software selling for $495 has been rented for $35,
And, unlike phonorecords, which are an entertainment product,
software is typically a utilitarian product. Short term rental of soft-
ware is, under most circumstances, inconsistent with the purposes
for which software is intended. Rental of software will, most likely,
encourage unauthorized copying, deprive copyright owners of a
return on investment, and thereby discourage creation of new prod-
ucts. ?

At this point in time, the number of businesses renting only soft-
ware is small. Legislation barring rental for purposes of direct or
indirect commercial advantage will not, therefore, harm en-
trenched interests. The Committee does not wish, however, to pro-
hibit nonprofit lending by nonprofit libraries and nonprofit educa-
tional institutions. Such institutions serve a valuable public pur-
pose by making computer software available to students who would
not otherwise have access to it.!° At the same time, the Committee
is aware.that the same economic factors that lead to unauthorized
copying in a commercial context may lead library patrons also to
engage in such conduct. Therefore, the bill requires that all copies
of software lent by nonprofit libraries bear a notice warning bor-
rowers that unauthorized copying may violate the copyright laws.
ae text of the notice is to be prescribed by the Register of Copy-
rights.

Title I, which is drafted narrowly, does not bar the rental (after
first sale) of two important categories of software. First, it does not
prohibit the rental, lease, or lending of consumer ‘and other prod-
ucts containing computer programs. Automobilies, calculators, and
other electronic consumer products contain computer programs,
buy these computer programs cannot now be copied by consumers
during the ordinary operation of these products. The touchstone of
the exemption is rental for the purpose of using the machine or
products, and not rental in order to copy the computer program
embodied in the machine or product.

Second, although there is a substantial rental market for elec
tronic audiovisual games played on limited purpose computers,
such computer are generally used solely for the playing of these

’ This legislation was sunsetted after five years. PUB. L. NO. 98-450, 98 Stat. 1727 (1984). In
1988, the legislation was renewed, with expiration set for October 1, 1997. PUB. L. NO. 100-617,
ae Beek, ors (1988), The rights granted under Title I of H.R. 5498 are set to expire on that

e date.

® See Software Rental Hearing, supra note 3 (state t of Ralph O ;

° Id. (statement of R. Duff Thompson). men® -_

19 Td (statement of Frank W. Connolly).
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es and not used to copy the computer programs that generate
the game.!! The Committee is also aware that some of those com-
puters may be designed for other purposes!* not involving the
playing of electronic audiovisual games. So long as these other pur-
do not involve the copying of computer programs, these com-
puters are exempt under new clause (ii) of section 109(b)(1)(B) estab-
lished by the bill.

The Committee has also been made aware of an anomaly in ex-
isting copyright law that prevents certain coin-operated equipment
ftom being used for their intended purpose. In Red-Baron Franklin
Park, Inc. v. Taito Corp.,4* a Japanese manufacturer of electronic
audiovisual games conceded that the first sale provisions of section
109(a) of the Copyright Act permitted a U.S. arcade game operator
to purchase, in Japan, a circuit board containing the game and to
then import the circuit board for insertion into a coin-operated
arcade game in the United States. The manufacturer, though,
argued—and the court of appeals agreed—that the first sale doc-
trine does not act as a limitation on the public performance right.
The court acknowledged that the circuit boards “‘have utility only
in the hands of someone who plans to exploit them
commercially.’ !4 Nevertheless, the court held that the plain words
of the statute dictated a finding of infringement.

The Committee received testimony domonstrating that some of
the most popular electronic audiovisual games are marketed only
as s0-called ‘dedicated games”: units consisting of a printed circuit
board containing the game, plus a wooden cabinet containing a tv
monitor, power supply, coin-acceptor mechanism, and many other
parts. Dedicated games sell for approximately $2,500 compared
with a cost of less than $1,000 for the printed circuit board alone.**

In order to rectify the anomaly in the Copyright Act that permits
copyright owners of electronic audiovisual games designed for use
in coin-operated equipment to sell printed circuit boards containing
the games and then turn around and successfully sue to prevent
use of the circuit boards for their intended purpose, the bill pro-
vides that the public performance right will not apply in the fol-
lowing very limited circumstances: where, in the case of electronic
audiovisual games intended for use in coin-operated equipment, a
lawfully made copy of such game has been purchased and is used
in such equipment. This provision does not apply to any work of
authorship embodied in an electronic audiovisual game if the copy-
right owner of the electronic audiovisual game is not also the copy-
right owner of that other work of authorship. For example, before
including a popular copyrighted song in an electronic audiovisual
game, permission of the copyright owner (or his or her licensee)
would be required to reproduce the song in the game and to public-
ly perform the song through operation of the game.

 

11 Jd. (statement of Thomas W. Carton, Jr.). 5 . . i :
12 The phrase “may be designed for other purposes,” as contained in new clause (ii) of section
108(bX1XB) is intended to refer to other limited uses and would not apply to a computer program
ied or used in conjunction with a general purpose computer that is also capable of being

used to s
18 BRS rbd te (ih, Coy. 1989), cert. denied, 110 S.Ct. 869 (1990).

14 883
15 See Ce et Rental Hearings, supra note 3 (statement of William Beckham).
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The Committee approaches proposed exceptions to the public per.
formance right with great concern, since the right forms the back
bone of the motion picture, musical, and theatrical industries. An
proposal adversely affecting these industries would be met wit
strong opposition and disfavor, and would call into question a host
of international issues, including possible conflict with our coun-
try’s obligations under the Berne Convention. The Committee is con.
vinced, however, that this amendment is drafted in a way that
carefully addresses the narrow issue presented in the Red-Baron
decision. Protective language has been included to ensure that the
right of public performance is left otherwise unaffected by the
amendment.

Another issue carefully considered by the Committee—again
through the Subcommittee—was the effective date provisions found
in section 104 of Title I of H.R. 5498. Section 104 specifies the pro
spective application of the bill by stating that persons who acquire
lawfully made copies of computer programs before the date of en-
actment of this bill may dispose of the possession of those copies on
or after the date of enactment in any manner permitted by section
109, title 17, United States Code, as in effect on the day before the
date of enactment.

Previous versions of the proposed legislation applied to rentals of
all existing programs and raised serious constitutional questions.
As aptly observed by a representative of the Administration, retro-
activity ‘could raise a serious question under the “Just Compensa-
tion Clause” of the 5th Amendment to the Constitution by depriv-
ing prior purchasers of a right vested under existing law without
compensating them for the loss.” ?® The Committee agreed and made
the proposed legislative prospective in scope only. .

Another “effective date” provision contains a legislative sunset,
providing that the amendments made by section 102 of the bill
expire on October 1, 1997, the same date that the record rental
provisons of section 109, title 17, United States Code, are scheduled
to expire.

TITLE IT.— ARCHITECTURAL WORKS

The Architectural Works Protection Act of 1990 is result of
United States adherence to the Berne Convention for the Protec.
tion of Literary and Artistic Works.'!7 The Convention is the
world’s most important copyright treaty. Adherence of the United
States to the Berne Union was a two-step process. First, imple
menting legislation had to be drafted, refined, and enacted. The im-
plementing legislation had one simple, but important objective: to
make only those changes in domestic U.S. law required to place the
United States in compliance with our treaty obligations. The
second step, reached only after the first was completed, required
the Senate to give its advice and consent to the treaty. Both steps
reached fruition on October 31, 1988, when President, Reagan
signed into law H.R. 426218 (the Berne Implementation Act of

+8 id. (written statement of Harry F. Manbeck, Jr.).

** For further background about the proposed legislation, see 186 Cong, Rec. E259 (daily ed.

Feb, 7, et) (introductory remarks of Robert W. Kastenmeier); Architectural Design Hearing
upra note 4.

*8 Public Law 100-568, 102 Stat. 2853.
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1988) and the treaty. Both were effective on March 1, 1989, when
the United States became a full-fledged member of the Berne
Union.

Article 2(1) of the Berne Convention requires member countries
to provide copyright for “works of architecture’—the constructed
design of buildings. This category of subject matter is distinct from
“ilustrations, plans, sketches and three-dimensional works relative
to architecture,” which are also required to be protected under Ar-
ticle 2(1). The current U.S. Copyright Act expressly includes “dia-
grams, models, and technical drawings, including architectural
plans” as a species of protected “pictorial, graphic, and sculptural
work.” 1° It does not, however, expressly protect “works of archi-
tecture,” although this Committee’s Report accompanying the 1976
Copyright Act contemplated that at least selected works of archi-
tecture—those containing elements physically or conceptually sepa-
rable from their utilitarian function—would be protected to the
extent of their separability.?°

Due to the lack of express statutory protection for works of ar-
chitecture in the 1976 Copyright Act, the original Berne imple-
menting bills included provisions according such protection, limited
by exemptions and restrictions on remedies necessary to protect
the public as well as the interests of the real estate industry.??

During the initial deliberations on Berne adherence in 1986 and
1987, the issue of protection for works of architecture failed to
draw much response. Then, in 1988, near the end of the hearing
process, two respected copyright scholars testified that creation of a
separate statutory provision for works of architecture might not be
required for compliance with our obligations under the Berne Con-
vention. This testimony was based on language in this Committee’s
Report accompanying the 1976 Copyright Act.?? These experts sug-
gested that the issue be studied further before undertaking legisla-
tive action.

Relying on this testimony, the provisions on works of architec-
ture were dropped from the Berne implementing legislation. Agree-
ing with the experts’ suggestions for further study, Chairman
Robert W. Kastenmeier of the Subcommittee on Courts, Intellectu-
al Property, and the Administration of Justice, by letter of April
27, 1988, to Register of Copyrights Ralph Oman, requested that the
Copyright Office undertake a fuli review of the subject and report

19 The reference to “architectural plans” was added by the Berne Convention Implementation
Act of 1988, Id. Committee reports accompanying the 1976 Copyright Act indicated that such
works were protected under that Act. Indeed, the Copyright Office registered architectural plans
and drawings under the 1909 Copyright Act. See generally, ‘Copyright in Works of Architec-
ture: A Report of the Register of Copyrights” (June 1989), Chapter 4.

20H. Rept. No. 94-1476, 94th Cong., 2d ses, 55 (1976).

21H R. 1623, 100th Cong., Ist Seas. (1987) (Kastenmeier); H.R. 2962, 100th Cong., 1st Seas.
(1987) (Moorhead, on behalf of the Administration). See also S. 2904, 99th Cong., 2d Sess. (1986)
(Mathias); S. 1301, 100th Cong., lst Seas. (1987) (Leahy); S. 1971, 100th Cong., 1st Sess. (1987)
(Hatch, on behalf of the Administration). H.R. 1623 and S. 1301 would have limited protection to
ercbitertural works having ‘an original artistic character.” The other bills did not contain this
imitation.

22 Berne Convention Implementation Act of 1987: Hearings on H.R. 1623 Before the Sub
comm. on Courts, Civil Liberties and the Administration of Justice of the House Comm. on the
Judiciary, 100th Cong., lst & 2d Sess. 679-680 (statement of Prof. Paul Goldstein), 689 (state
ment of former Register of Copyrights Barbara Ringer) (1987 & 1988) (citing H. Rept. No. 94-

1476, 94th Cong., 2d cess. 55 (19776).
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to him the results of the study, including any recommendations for
amending the Copyright Act.

On June 19, 1989, Mr. Oman delivered his report to Chairman
Kastenmeier.22 While the Register noted the strong professional
disagreement within the Copyright Office over the existence of
copyright for the design of works of architecture under the 1976
Act, he concluded, and the entire staff concurred, that the Berne
Convention required such protection. Accordingly, on February 7,
1990, Chairman Kastenmeier introduced H.R. 3990, to place the
United States unequivocally in compliance with its Berne obliga.
tions. For purposes of discussion, Chairman Kastenmeier also intro-
duced H.R. 3991, the “Unique Architectural Structures Copyright
Act of 1990.” H.R. 3991 sought to protect only works possessing a
“unique artistic character.” Following a legislative hearing before
the Subcommittee on March 14, 1990, revised provisions protecting
architectural works, based on H.R. 3990, were introduced as part of
H.R. 5498. These provisions now form Title II of H.R. 5498.

The importance of H.R. 3990 (and Title II of H.R. 5498) should
not be measured solely by the purpose of placing the United States
unequivocally in compliance with its Berne Convention obligations.
All copyright legislation is premised on Article I, section 8, clause 8
of the Constitution, which grants Congress the power to protect the
“writings” of authors in order to “promote the progress of science.”
The proposed legislation must (and the Committee believes dees)
further this constitutional goal. Architecture plays a central role in
our daily lives, not only as a form of shelter or as an investment,
but also as a work of art. It is an art form that performs a very
public, social purpose. As Winston Churchill is reputed to have
once remarked: “We shape our buildings and our buildings shape
us.” We rarely appreciate works of architecture alone, but instead
typically view them in conjunction with other structures and the
environment at large, where, at their best, they serve to express
the goals and aspirations of the entire community. Frank Lloyd
Wright aptly observed: ‘‘Buildings will always remain the most val-
uable aspect in a people’s environment, the one most capable of
cultural reaction.” 24

The truth of this observation is borne out every day in the Cap
itol, which serves as a strong symbol of our country’s dedication to
democracy. The sheer number of visitors to the Capitol speaks elo-
quently to the success of that symbol. Indeed, the important rela-
tionship between democracy and architecture was well understood
by our Founding Fathers. The design of the Capitol was strongly
influenced by Thomas Jefferson, whose love of architecture is well
known and visible today in his own works of architecture at Monti-
cello and the University of Virginia.

Architecture is not unlike poetry, a point made by renowned
critic Ada Louise Huxtable, who wrote that architects can make
“poetry out of visual devices, as a writer uses literary or aural de
vices. As words become symbols, so do objects; the architectural

73 "Copyright in Works of Architecture: A Report of the Register of ighta” (June 1989).
24 “FW. Wright, on Architecture” (1941), Po gister of Copyrights” (Jun
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world is an endless source of symbols with unique ramifications in
time and space.” 25

In short, the Committee concluded that the design of a work of
architecture is a “writing” under the Constitution and fully de-
serves protection under the Copyright Act. Protection for works of
architecture should stimulate excellence in design, thereby enrich-
ing our public environment in keeping with the constitutional goal.

The Committee has carefully considered whether injunctive
relief should be available for infringement of architectural works,
and if so, under what conditions. Section 4 of H.R. 3990 contained a
provision limiting injunctive relief against allegedly infringing
buildings to circumstances where construction has not “substan-
tially begun.”” Michael Graves, in his written statement to the Sub-
committee argued:

Categorically denying the copyright holder an injunction
after construction has substantially begun does not lessen
the resulting loss to the owner [of the building]. For exam-
ple, approximately eighty percent of the architect’s fees
has normally been earned before construction begins. In
addition, before the commencement of construction, an
owner typically spends large sums of money for land, sur-
veys, engineering fees, carrying costs, fees in connection
with zoning approvals, and legal fees.?§

The American Institute of Architects similarly argued:

Generally, we are not in favor of the destruction of
useful buildings, and we fully expect a court would require
a strong showing from a copyright owner before ordering
such drastic action. On the other hand, it is not at all in-
conceivable that a situation could arise where the very ex-
istence of an infringing structure is an irreparable injury
to the copyright owner. In that case, the courts should not
be precluded from ordering a halt to construction, [or] a
substantial alteration so as to make the building not in-
fringing, or even to tear the building down if the evidence
properly supports that conclusion. We are confident that
the courts will appropriately weigh the public policy con-
cerns about economic waste against the interests of the
copyright owner,?7

H.R. 3990 proceeded on the assumption that injunctions against
allegedly infringing buildings embodying protected architectural
works may present issues different than other forms of authorship.
Architectural works are the only form of copyrightable subject
matter that is habitable. Large scale architectural projects involve
an almost bewildering number of state and local permit processes
that must be navigated, and typically involve a considerable
number of interests in addition to the architect and client, includ-

 

®6 A. Rossi, “Memory and Metaphor in Architecture Anyone?” at 45-46 (1986). See also Archi-
tectural Design Hearings, supra note 4, at 136 (statement of Frank Lloyd Wright Foundation):
“Architectural art is no less art than its counterparts in the world of sculpture and painting
* #9. <q at 49 (statement of Register of Copyrights Ralph Oman): “[Architecture is] one of the
oldest and most revered forms of Art.”

6 Architectural Design Hearings, supro note 4, at 18-19.

37 Td. at 117.
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ing lending institutions, contractors, subcontractors, unions, and
suppliers. .

Nevertheless, it ultimately was concluded that these differences
were not substantial enough to justify the limitations found in H.R.
3990 as introduced.28 As a practical matter, buildings embodying
protected architectural works must be expressed in plans deposited
with and approved by local planning commissions before construc-
tion can begin. A copyright owner who is unsure whether a com-
pleted structure will infringe his or her protected architectural
work can review these plans and gain valuable information in
making such a judgment. Thus, in many cases costly delays neces-
sitated by uncertainties over the ultimate design may be avoided.

Title Ii therefore does not contain the limitation on injunctive
relief contained in H.R. 3990, as introduced. Injunctive relief for al-
leged infringement of architectural works will be governed by the
general principles applicable to all categories of subject matter,?*
taking into account the complexities and different affected inter-
ests described above.

Those general principles are expressed first in Rule 65, Federal
Rules of Civil Procedure (the provisions of which are applicable to
copyright infringement actions), and second in the standards for in-
junctive relief developed by the Federal judiciary. The Committee
is aware that various courts have developed different standards for
injunctive relief, or at least enunciated the general principles for
injunctive relief in different ways. Nevertheless, all would agree,
and the Committee believes, that “equitable considerations, in this
as in all fields of law, are pertinent to the appropriateness of in-
junctive relief. The public interest is always a relevant consider-
ation for a court in deciding whether to issue an injunction.”*°

One equitable doctrine that may have particular relevance in
suits to enjoin allegedly infringing architectural works is laches.
The AIA noted in its statement that copyright owners may have to
make a strong showing of entitlement to remedial relief in cases
where an allegedly infringing structure has been substantially
begun or completed.2! The Committee agrees and therefore expects
that injunctions will be sparingly used in such cases, but does not
with to preclude such relief in appropriate circumstances.

As a counterbalance to the injunctive relief authority of copy-
right holders, the owners of buildings are granted the flexibility to
alter or modify the structures they own, or even to demolish
them.3? H.R. 3990, as introduced, contained a limitation on the
right to alter a building containing a protected architectural work.

?® For example, the production of motion pictures also involves many of the complications dis-
cussed above with respect to architectural works. The Committee is unaware of any complainta
from the motion picture industry over injunctions.

20 See 17 U.S.C. section 502.

39 New Era Pubs. Aps. Int'l v. Henry Holt & Co., 884 F.2d 659, 663 (2d Cir. 1989) (denying pet.
for reh'g en banc), cert. denied, 58 U.S.L.W. 3528 (U.S. Feb. 20, 1990) (Newman, J., dessenting).
See also id. at 661: “All now agree that injunction is not the automatic consequence of infringe
ment and that equitable considerations always are germane to the determination of whether an
magnet is appropriate.” (Miner, J., concurring.)

32 1d. (statement of Jeffrey M. Samuels).
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SECTION-BY-SECTION ANALYSIS

Section 1.—Short Title

Section 1 provides that the bill may be referred to as the “Copy-
right Amendments Act of 1990.”

TITLE I.—COMPUTER SOFTWARE

Section 101.—Short Title

This section provides that this may be cited as the “Computer
Software Rental Amendment Act 1990.”

Section 102.—Rental of Computer Programs

Section 102 amends section 109(b) of title 17, United States Code,
by redesignating paragraphs (2) and (3) as paragraphs (3) and (4),
by replacing existing paragraph (b)(1) with a new paragraph, and
by replacing redesignated paragraph (4) with a new paragraph.

New subparagraph (b)(1)(A) expands the limited exception to the
first sale doctrine Congress made with respect to phonorecords in
1984 (renewed in 1988) to include, as specified, computer programs.
As with phonorecords, on or after the date of enactment. of this bill,
computer programs may not, for purposes of direct or indirect com-
mercial advantage, be rented leased, or lent. An exemption for the
rental, lease, or lending for nonprofit purposes by nonprofit librar-
ies and nonprofit educational institutions is provided. Additionally,
the bill states that the transfer of possession of a lawfully made
copy of a computer program by one nonprofit educational inistitu-
tion to another or to faculty, staff, or students is also exempt.

Nonprofit libraries are required to affix on the packaging con-
taining the computer program a warning of copyright, in accord-
ance with requirements the Register of Copyrights shall prescribe
by regulation.23 New subparagraph 109(b)(2)B) of title 17, United
States Code, established under the bill, requires the Register of
Copyrights, not later than three years from the date of enactment,
and such times thereafter as the Register considers appropriate, to
submit to Congress a report stating whether the provisions of the
bill have served their intended purpose of maintaining the integri-
ve the copyright system, while still providing nonprofit libraries

e capacity to fulfill their function.

New clause 109(b)(1)(B)(i) of title 17, United States Code, estab-
lished under the bill, broadly states that the rights granted in new
subparagraph 109(b)(1)(A) do not apply to a computer program that
is embodied in a machine or product and that cannot be copied
during the ordinary operation or use of the machine or product.
This provision recognizes that many consumer products contain
computer programs, including automobiles, calculators, and micro-
wave ovens. Computer programs are typically embodied in elec-
tronic circuitry embedded in these products, and cannot be copied
by consumers during the ordinary operation or use of the product.

New clause 109(b)(1)(BXii) of title 17, United States Code, estab-
lished under the bill, addresses the special case of limited purpose
computers designed for playing electronic audiovisual games. Com-

*9 See new subparagraph 109(bX2XA).
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puter programs embodied in these games presently cannot be
copied while playing the game. The Committee is aware that some
limited purpose computers used for playing electronic audiovisual
games may be used for additional purposes that also do not involve
the copying of computer programs. These computers are also en-
compassed within clause 109(b)(1(B)ii) as well.

The final paragraph of section 102 of H.R. 5498 provides that, as
with phonorecord rental, an infringer of the rights granted under
the bill is liable for injunctive relief and monetary damages, but is
not subject to the criminal penalties set forth in section 506 of title
17, United States Code, or section 2319 of title 18, United States
Code.

Section 103.—Publie Display of Electronic Video Games

Section 108 of the bill addresses the anomaly created by the Red.
Baron Franklin Park, Inc. v. Taito Corp. decision.** Under the bill,
the owner of a particularly lawfully made copy of an electronic
audiovisual game intended for use in coin-cperated equipment, is
entitled, without the permission of the copyright owner of the elec-
tronic audiovisual game, to publicly perform or publicly atepley
that electronic audiovisual game in coin-operated equipment. The
exception does not apply, however, in cases where the electronic
audiovisual game also contains other works of authorship, such as
a musical composition or motion picture, unless the copyright
owner of the electronic audiovisual game is also the copyright
owner of these works as well. The term “copyright owner” has the
meaning as defined in section 101, title 17, United States Code.

Section 104.—Effective Date

This section of the bill contains three provisions dealing, respec-
tively, with the general effective date, prospective application, and
termination of rights.

Subsection (a) of the section provides that, subject to subsection
(b), the amendments made by this title shall take effect on the date
of enactment. Subsection (b) further clarifies that persons who ac-
quired lawfully made copies of a computer program before the date
of enactment may dispose of those copies on or after the date of
enactment in any manner permitted by section 109 of title 17,
United States Code, as in effect on the day before the date of enact-
ment. Subsection (c) provides that the rights granted in section 102
of the bill shall terminate on October 1, 1997.

Section 105.—Recordation of Shareware

_ Section 105 of the bill—which is uncodified—authorizes the Reg-
ister of Copyrights to record documents relating to shareware, to
maintain current, separate records relating to such documents, and
to publish at periodic intervals information relating to such recor-
dations. The purpose of section 105 is to encourage individuals de
siring to permit unrestricted, or liberal, use of software they create,

to file documents to that effect with the Copyright Office so that an
effective public record will be available.

54 883 F.2d 275 (4th Cir. 1989), cert. denied, 110 S.Ct. 869 (1990) See analysis of this case,
supra, in the Discussion section of this Report.
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Subsection (a) authorizes the Register, upon receipt of a docu-
ment designated as pertaining to computer shareware, to record
the document and return it with a certificate of recordation. Such
a document could include license agreements and statements that
the author attaches conditions to the use or distribution of a com-
puter program. Documents would be recorded under the fee struc-
ture in effect for other documents relating to copyright.

For purposes of this section, shareware is computer software
which meets the standard of originality in the Copyright Act but
for which the author sets certain conditions for its use and distri-
bution. The Committee is aware that the terms “computer
shareware” and “public domain computer shareware” are not
found in the Copyright Act, and are susceptible of different mean-
ings in the computer and legal communities. It is apparent that
there is a lack of a central clearinghouse for information about
shareware, and that such a clearinghouse would aid in wider dis-
semination of such works. The Register is given wide latitude to
promulgate practices and procedures that fulfill the purposes of
this section and also to obtain information—prior to the ‘‘sunset”’
of this Title—about an important manifestation of the creative
computer community. Because of the different interpretations of
the term shareware in the computer industry, it will be left up to
the individual author submitting the document to designate it as
pertaining to shareware. Failure to so designate the document will
result in the document being recorded with the general copyright
records. Computer shareware does not include electronic data
bases, or other works of authorship.

Subsection (b) provides the Register with authority to maintain
current, separate records relating to the recordation of documents
and to compile and publish at periodic intervals information relat-
ing to such recordations. Such publications shall be offered to the
public at prices based on the cost of reproduction and distribution.

In order to facilitate access to shareware, Title I of H.R. 5498
provides, in subsection (c) of section 105, that any individual record-
ing a document pertaining to shareware may also deposit two
copies of the shareware as embodied in machine-readable form for
the benefit of the Library of Congress’ Machine-Readable Reading
Room. The nature of the deposit is to be determined by the defini-
tion of “best edition” contained in section 101 of title 17, United
States Code. Subsection (c) does not affect the mandatory deposit
requirements of section 407 of title 17, United States Code, for com-
puter software that is subject to copyright.

Subsection (d) authorizes the Register to establish regulations in
conformity with law for the administration of the functions of the
Copyright Office. All regulations are subject to the approval of the
Librarian of Congress.

TITLE It.— ARCHITECTURAL WORKS

Section 201.—Short Title

This section provides that this title may be cited as the “Archi-
tectural Works Copyright Protection Act of 1990.”
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Section 202.—Definitions

Section 202 adds a new definition (‘architectural work’) to the
Copyright Act and amends an existing definition (“Berne Conven-
tion work”).

Subsection (a) amends section 101 of title 17, United States Code,
to provide a definition of the subject matter protected by the bill,
“architectural works.” An “architectural work’”’ is defined as “the
design of a building as embodied in any tangible medium of expres-
sion, including a building, architectural plans, or drawings.” The
work includes “the overall form as well as the arrangement and
composition of spaces and elements in the design, but does not in-
clude individual standard features.”

The definition has two components. First, it states what is pro-
tected. Second, it specifies the material objects in which the archi-
tectural work may be embodied. The protected work in the design
of a building. The term “design” includes the overall form as well
as the arrangement and composition of spaces and elements in the
design. The phrase “arrangement and composition of spaces and
elements” recognizes that: (1) creativity in architecture frequently
takes the form of a selection, coordination, or arrangement of un-
protectible elements into an original, protectible whole; (2) an ar-
chitect may incorporate new, protectible design elements into oth-
erwise standard, unprotectible building features; and (8) interior ar-
chitecture may be protected.

Consistent with other provisons of the Copyright Act and Copy-
right Office regultions,*® the definition makes clear that protection
does not extend to individual standard features, such as common
windows, doors, and other staple building components. A grant of
exclusive rights in such features would impede, rather than pro-
mote, the progress of architectural innovation. The provision is not,
however, intended to exlude from the copyright in the architectur-
a iia any individual features that reflect the erchitect’s °° crea-
ivity.

Critic Ada Louise Huxtable once provided the following comment
the may be helpful as an expression of the policy behind the legis-
ation:

[T]Jechnology is not art, and form only follows function
as a starting point, or life and art would be much simpler
than they are. The key to the art of architecture is the
conviction and sensitivity with which technology and func-
tion are interpreted aesthetically, in solutions of a practi-
cal social purpose.#7

Architect Michael Graves, a witness before the Subcommittee,
provided further guidance in an essay entitled “A Case for Figura-
tive Architecture.” Mr. Graves explained his design efforts by de-
scribing | two types of architectural language, “internal” and

poetic.” Internal language is “intrinsic to building in its most

- See 17 U.S.C, § 102(b) (1978); 87 CFR 202.1.
; ed ee is not limited to architects. Any individual creating an architectural work is en-
titled to exercise the exclusive rights, granted under the bill, without regard to professional
training or state licensing requirements. The general provisions of the Copyright Act governing

ownership and transfer of copyrighted works shall a lly to .
37 A.L. Huxtable, “Architecture Anyone?” (1986). pply equally to architectural works.
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basic form—determined by pragmatic, constructional, and techni-
cal requirements.” Poetic language is “responsive to issues external
to the building, and incorporates the three-dimensional expression
of the myths and rituals of society.” °° The intent of the legislation
is to protect only what Mr. Graves calls “poetic language.”

During the Subcommittee’s 1990 hearing, testimony was received
that a potential gap in protection may exist where an architectural
work has been depicted in plans or drawings, but has not yet been
constructed.?9 Since the original definition of architectural work in
H.R. 3990 referred only to architectural works “as embodied in’
buildings, there was concern that a defendant with access to the
plans or drawings could construct an identical building but escape
liability so long as the plans or drawings were not copied.

The Register of Copyrights disagrees that liability could be avoid-
ed in such circumstances, arguing that the witnesses misconstrued
the access prong of infringement analysis. The Register’s position,
based on general principles of copyright law, is that where a three-
dimensional work meets the standard for protection, infringement
may lie regardless of whether access to the three-dimensional work
is obtained from a two-dimensional or three-dimensional depiction
thereof.*°

In order to resolve this debate, subsection 202(a) of title II of H.R.
5498 modifies the definition of architectural work so that a work of
architecture may be embodied in the built design—the constructed
three-dimensional building—or in plans, drawings, or in “any tan-
gible medium of expression,” such as a blueprint or computer disk.
Protection for architectural plans, drawings, and models as pictori-
al, graphic, or sculptural works under section 102(a)(5), title 17,
United States Code, is unaffected by this bill.

This change does, however, raise questions regarding the rela-
tionship between copyright in the architectural work and copyright
in plans and drawings. The bill’s intention is to keep these two
forms of protection separate. An individual creating an architectur-
al work by depicting that work in plans or drawing will have two
separate copyrights, one in the architectural work (section
102(a\(8)), the other in the plans or drawings (section 102(a)(5)).
Either or both of these copyrights may be infringed and eligible
separately for damages. in cases where it is found that both the ar-
chitectural work and the plans have been infringed, courts or
juries may reduce an award of damages as necessary to avoid
double remuneration, but the basic concept of election of protec-
tion #1 is important and must be preserved. .

The Subcommittee made a second amendment in the definition
of architectural work: the deletion of the phrase “or three-dimen-
sional structure.” This phrase was included in H.R. 3990 to cover
cases where architectural works embodied in innovative structures

28 Graves, “Buildings and Projects 1966-1981" at 11 (9182). . .

39 This point was eloquently made by Professor Jane C. Ginsburg in a statement submitted to
the Subcommittee. See Architectural Design Hearings, supra note 4, at 184-187.

401d. at 67-68.

#1 the Subcommittee was aware that certain works of authorship which may separately qual-
ify for protection as pictorial, graphic, or sculptural works may be permanently embodied in
architectural works. Stained glass windows are one such example, Election is inappropriate in
any case where the cop ight owner of a pictorial, graphic, or sculptural work embodied in un
architectural work is divterent from the copyright owner of the architectural work.
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that defy easy classification. Unfortunately, the phrase also could
be interpreted as covering interstate highway bridges, cloverleafs,
canals, dams, and pedestrian walkways. The Subcommittee exam-
ined protection for these works, some of which form important ele-
ments of this nation’s transportation system, and determined that
copyright protection is not necessary to stimulate creativity or pro-
hibit unauthorized reproduction.

The sole purpose of legislating at this time is to place the United
States unequivocally in compliance with its Berne Convention obli-
gations. Protection for bridges and related nonhabitable three-di-
mensional structures is not required by the Berne Convention. Ac-
cordingly, the question of copyright protection for these works can
be deferred to another day. As a consequence, the phrase “or other
three-dimensional structures” was deleted from the definition of
architectural work and from all other places in the bill.

This deletion, though, raises more sharply the question of what
is meant by the term “building.” Obviously, the term encompassed
habitable structures such as houses and office buildings. It also
covers structures that are used, but not inhabited, by human
beings, such as churches, pergolas, gazebos, and garden pavilions.

Subsection (b) amends the definitions of “Berne Convention
work” in section 101, title 17, United States Code, to provide a
point of attachment for national eligibility purposes. An architec-
tural work is a ‘Berne Convention work” if the building in which
the architectural work is embodied ‘‘is erected in a country adher-
ing to the Berne Convention.”’ This amendment is necessitated by
United States membership in the Berne Union.

Section 203.—Subject Matter of Copyright

This provision amends section 102, title 17, United States Code,
to create a new category of protected subject matter: “architectural
works.” By creating a new category of protectible subject matter in
new section 102(a)(8), and, therefore, by deliberately not encompass-
ing architectural works as pictorial, graphic, or sculptural works in
existing section 102(a\(5), the copyrightability of architectural
works shall not be evaluated under the separability test applicable
to pictorial, graphic, or sculptural works embodied in useful arti-
cles. There is considerable scholarly and judicial disagreement over
how to apply the separability test,s2 and the principal reason for
not treating architectural works as pictorial, graphic, or sculptural
wore is to avoid entangling architectural works in this disagree-
ment.

The Committee does not suggest, though, that in evaluating the
copyrightability or scope of protection for architectural works, the
Copyright Office or the courts should ignore functionality. A two-
step analysis is envisioned. First, an architectural work should be
examined to determine whether there are original design elements
present, including overall shape and interior architecture. If such
design elements are present, a second step is reached to examine

*? See Perlutter, “Conceptual Separability and Copyright in the Design of Useful Articles,” 311
J. Copr. Soc'y 339 (1990) for a helpful review of this issue, or Of Ose
Monumental, nonfunctional works of architecture are currently protected under section
102(aX5) of title 17 as sculptural works. These works are, nevertheless, architectural works, and
as such, will not be protected exclusively under section 102(aX&).
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whether the design elements are functionally required. If the
design elements are not functionally required, the work is protecti-
ble without regard to physical or conceptual separability. As a con-
sequence, contrary to the Committee’s report accompanying the
1976 Copyright Act with respect to industrial products,** the aes-
thetically pleasing overall shape of an architectural work could be
protected under this bill.*®

The proper scope of protection for architectural works is distinct
from registrability. Functional considerations may, for example, de-
termine only particular design elements. Protection would be
denied for the functionally determined elements, but would be
available for the nonfunctional determined elements. Under such
circumstances, the Copyright Office should issue a certificate of
registration, letting the courts determine the scope of protection. In
each case, the courts must be free to decide the issue upon the facts
presented, free of the separability conundrum presented by the
useful articles doctrine applicable for pictorial, graphic, and sculp-
tural works. Evidence that there is more than one method of ob-
taining a given functional result may be considered in evaluating
registrability or the scope of protection.

The proposed legislation incorporates the general standards of
originality applicable for all other copyrightable subject matter.
This standard “does not include requirements of novelty, ingenuity,
or [alesthetic merit.”’ #® Subjective determinations of artistic or aes-
thetic merit are inappropriate and contrary to fundamental princi-
ples of copyright law.+7

As a result of the incorporation of the general standard of origi-
nality for architectual works, determinations of infringement of ar-
chitectual works are to be made according to the same standard ap-
plicable to all other forms of protected subject matter. The refer-
ences in the definition of “architectural work” to “overall form,”
and to the nonprotectibility of “individual standard features” are
not intended to indicate that a higher standard of similarity is re-
quired to prove infringement of an architectural work, or that the
scope of protection of architectural works is limited to verbatim or
near-verbatim copying. These definitional provisions are intended
merely to give the courts some guidance regarding the nature of
the protected matter. The extent of protection is to be made on an
ad hoc basis.

Section 204.—Scope of Exclusive Rights on Architectural Works

Section 204 creates a new section 120 of title 17, United States
Code, limiting the exclusive rights in architectural works. .

Subsection (a) of new section 120 permits the unauthorized
“making, distributing, or public display of pictures, paintings, pho-
tographs, or other pictorial representations of the work, if the
building in which the work is embodied is located in or ordinarily

44 H, Rep. No. 94-1476, 94th Cong., 2d sess. 55 (1976).

48 Chairman Kastenmeier forcefully made these points in his introductory statement on the
House floor, 136 Cong. Rec. £259-60 (daily ed. Feb. 7, 19990).

48H. Rept. No. 94-1476, 94th Cong., 2d sess. 51 (1976).

47 Bleistein v. Donaldson Lithographic Ca., 188 U.S. 239 (1903).
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visible from a public place.” *8 Similar exceptions are found in
many Berne member countries, and serve to balance the interests
of authors and the public.*® Architecture is a public art form and
is enjoyed as such. Millions of people visit our cities every year and
take back home photographs, posters, and other pictorial represen-
tations of prominent works of architecture as a memory of their
trip. Additionally, numerous scholarly books on architecture are
based on the ability to use photographs of architectural works.

These uses do not interfere with the normal exploitation of archi-
tectural works. Given the important public purpose served by these
uses and the lack of harm to the copyright owner’s market, the
Committee chose to provide an exemption, rather than rely on the
doctrine of fair use, which requires ad hoc determinations, After a
careful examination of the provisions of the Berne Convention, the
laws of other Berne member countries, and expert opinion, the
Committee concluded that this exemption is consistent with our ob-
ligations under the Convention.*°

Subsection (b) provides a limitation on the copyright owner’s
right—under section 106(2) of title 17, United States Code—to pre-
pare derivative works. Subsection (b) permits the owner of a build-
ing embodying a protected architectural work to “make or author-
ize the making of alterations to such building, and to destroy or au-
thorize the destruction of such building” without the copyright
owner’s consent.®! With respect to the right to destroy a building
embodying a protected architectural work, the provision is consist-
ent with existing section 109(a) of title 17, United States Code. Sec-
tion 109(a) permits the owner of a particular copy or phonorecord
lawfully made to “sell or otherwise dispose of the possession of that
copy of phonorecord.” While the provisions of section 109(a) apply

*8 As introduced, Section 4 of H.R. 3990 limited the exemption in section 102(a) to instances
where the architectural work was “located in a public place.” The Subcommittee added the
phrase “or ordinarily visible from" after the works “located in” to broaden the exemption to
include buildings located on private property but visible from a public place. Nothing in this
amendment permits or condones trespassing in order to make such pictorial representations.

*° These include the Central African Republic (Article 15); Chile (Articles 48, 44); Colombia
(Article 44); Congo (Article 7); Costa Rica (Article 71); Czechoslovakia (Article 32); Denmark (Ar-
ticle 25); Finland (Article 25); Federal Republic of Germany (Article 59(1)); India (Articles 52(a),
(x)); Ireland (Article 12(3Xb)); Israel (Article 2); Luxembourg (Article 21); Mexico (Article 18(c));
Morocco (Article 20); New Zealand (Articles 20(3)}(5)); Norway (Article 28); Pakistan (Articles
S7(1Xs) & (t)); Peru (Article 72); Poland (Articles 20(5) & (6)); Rwanda (Article 18(4)); Senegal (Ar-
ticle 14); South Africa (Articles 10(2) & (4)); Sweden (Article 25); Switzerland (Article 30(gX3));
Tunisia (Article 14); United Kingdom (Articles 59 (1) & (2), 62); Uruguay (Article 44 (cx2)); Ven-
ezuela (Articles 44(3)); Yugoslavia (Articles 48(4) & (5); 49(5)), Cf. Belgium Article 21 dis (reproduc-
tion permissible only where necessary for reporting current events; Iceland (Article 16; where
the architectural work forme the chief motif of the two-dimensional reproduction, the author is
entitled to remuneration), Japan (Article 46; ‘imitative reproductions” are not permitted, nor
reproductions whose purpose is exclusively the selling of copies of the work); Netherlands (Arti-
cle 18; similar to Iceland). French case law makes distinctions similar ta those found in the Ice-
ae statute. See Huet, “Architecture and Copyright,” 19 UNESCO Copyright Bulletin 18

The American Institute of Architects (ALA) proposed an amendment to section 120(a) pro-
hibiting pictorial representations made in order to further the unauthorized design and con-
struction of a substantially similar architectural work. The Subcommittee believed such an
epeneaent tie unnereeey. fon pnguthe ried substantially similar architectural work is con-

acted, irrelevant how the design of the infringi ilding i i the
design en independently created gn ging building ie achieved so long as
_ The propos amendment might also interfere with scholarly and noncompetitive analy-
pan of eo ys and “ae pe shiliey of photographers ta anne their tivelihood, The
Magazine Photographers wro i i
iia ea apcay I aoe grap wrote to the Subcommittee opposing the AIA

Dre Le ‘
Provision was supported by all wit t th ittee’ i itec-
trad Design Heaton PP uted by nesses at the Subcommittee’a hearing. See Architec
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to architectural works, in light of the fact that architectural works
represent a new category of protected subject matter, and unlike
other forms of subject matter are habitable, the Committee be-

lieved it advisable to spell out expressly the limitations contained
in section 120(b).52

Section 205.—Preemption

Section 205 amends section 301(b) of title 17, United States Code,
by adding a new paragraph (4). The new provision provides that
state and local landmark, historic preservation, zoning, or building
codes relating to architectural works protected under section
102(a)(8) are not preempted by the Copyright Act. These codes will,
accordingly, not be affected by passage of the bill.

Section 206.—Effective Date

The bill is prospective, protecting: (1) “architectural works cre-
ated on or after the date of enactment”; and, (2) “architectural
works that on the date of enactment are unconstructed and em-
bodied in unpublished plans or drawings.” This latter form of pro-
tection is subject to possible termination on December 31, 2002 de-
pending on whether the work has been constructed by that date,
and is derived from the bill’s definition of architectural work.
Under the definition, an architectural work can be embodied in
any tangible medium of expression, including architectural plans
or drawings. An architectural work that has not been constructed
before the date of enactment, but which has been embodied in
plans or drawings which themselves are unpublished on the date of
enactment, is protected under the bill against unauthorized con-
struction that occurs on or after the date of enactment.5* The
result does not violate prohibitions against retroactivity since the
activity giving rise to liability—construction of a substantially simi-
lar architectural work—can only occur on or after the date of en-
actment, and since the architectural work is embodies in subject
matter that is itself already protected under the Copyright Act,
namely, unpublished plans or drawings.

52 The proposed legislation does not amend section 106 of title 17, United States Code, regard-
ing “Exclusive rights in copyrighted works”. Accordingly, the owner of copyright in an architec-
tural work is granted a right of reproduction, a right to prepare derivative works (limited, how-
ever, by section 120(b)), and a right to distribute the architectural work, but it is not given a
right to publicly perform or publicly display the architectural work. The right of public perform-
ance has no applicability to architectural works. While the right to publicly display an architec-
tural work would have some benefit to copyright owners, the right would conflict with section
12((a), and, further, is not required by the Berne Convention.

The Committee considered the question of moral rights for architectural works. None of the
witnesses at the Subcommittee's March 14, 1990 hearing testified in favor of an express statuto-
ry grant of such rights. Accordingly, the bill does not contain an express or implied statutory
grant of moral rights. Architects’ moral rights will, therefore, be governed by the law as cur-
rently exists. See Berne Convention Implementation Act of 1988, Public Law 100-568, sec. 3(b),
102 Stat. 2853.

53'The Subcommittee deliberately limited this provision to architectural works embodied in
unpublished plans or drawings, rather than using the broader term “any tangible medium of
expression” contained in the definition of “architectural work.” The purpose of the exception is
to encourage architects who have kept drawings and plans private to disclose them free of fear
that disclosure will result in lack of protection against a substantially similar constructed archi-

tectural work.
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This provision does, however, raise the question of term of pro-
tection. To aid copyright owners, the public, and the courts, the
Committee believes it would be helpful to explain in some detail
the various terms of protection that will vest under the bill.

Architectural Works created on or after the date of enactment

These works will be governed by section 302 of title 17, United
States Code: that is, works created by individuals will have a copy-
right measured by the life of the author plus 50 years; works cre-
ated under a work-made-for-hire arrangement, anonymously, or
under a pseudonym will have a copyright measured from 100 years
from creation or 75 years from publication, whichever occurs first.
The Committee considered, but rejected, amending the Copyright
Act to provide a special definition of publication of an architectural
work. Instead, the general definition in section 101, title 17, United
States Code, will apply.*#

Architectural Works unconstructed on the date of enactment

The term of protection for architectural works unconstructed on
the date of enactment and embodied in unpublished plans or draw-
ings will be governed by sections 302 and 303 of title 17, United
States Code. In order to encourage authors of architectural works
to construct their unpublished creations, a provisional cut-off date
of December 31, 2002, has been provided: works that would ordinar-
ily be eligible for a term of protection continuing past that date
will lose protection on that date if the architectural work has not
been constructed.°> The actual term will vary depending upon a
number of factors, including whether the work was created by an
individual, or under a work-made-for-hire arrangement, or whether
the work is published before December 31, 2002,5¢ but two basic
categories may be identified. Within each category, two examples
are given, illustrating the relevant principle governing the calcula-
tion of term.

_ 1. Works created by individuals.—These works will be governed
in the first instance by the life plus 50 years post mortem auctoris
term in section 302 of title 17, United States Code:

_A. Author dies in 1990, Term will expire in 2040 under sec-
tion 302; however, under the bill the term will expire on De-
cember 31, 2002 unless the architectural work is constructed
by that date.

B. Author died in 1940. Under section 303, the term will
expire on December 31, 2002, unless the architectural work is
constructed and published before that date, in which case pro
tection will expire on December 31, 2027.

+" Publication’ is the distribution of copies or phonorecords of a work to the public by sale
or other transfer of ownership, or by rental, lease, or lending. The offering to distribute copies
or photorecords to a group of rsons for purposes of further distribution, public performance, or
public display, constitutes publication. A public performance or display of a work does not of
itself constitute publication.”

5® This date is derived from section 303, title 17, United States Code.

°“* The definition of “publication” in the 1976 Copyright Act is to be used in making these
determinations. The term of protection for the plans rt drawings embodying the architectural
work is unaffected by this bill. Since architectural plans and drawings pep reeent a separate cate-

gory of authorship from architectural works, publicati ings i ica-
tion or an architectural work. P sii seinen: Jaiaall mia
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2. Works created under work-made-for-hire.—These works will be
governed in the first instance by the term set forth in section 302
of title 17, United States Code: 100 years from the date of creation;
the 75 year term for published works made-for-hire will not apply,
since the provisions of section 6 of the proposed legislation are lim-
ited to architectural works that are unconstructed on the date of
enactment.

A. Work is created in 1902. Term will expire on December
31, 2002, unless the work is constructed and published before
oe date, in which case the term will expire on December 31,

B. Work is created in 1950. Term will expire 2050, unless the
work is not constructed by December 31, 2002, in which case
protection will expire on that date.

COMMITTEE OVERSIGHT FINDINGS

In compliance with clause 20X3)(A) of rule XI of the Rules of the
House of Representatives, the Committee reports that the findings
and recommendations of the Committee, based on oversight. activi-
ties under clause 2(b)(1) of rule X of the Rules of the House of Rep-
resentatives, are incorporated in the descriptive portions of this
report. The Committee has oversight over the functioning of the
Copyright Act, including the administrative responsibilities of the
Copyright Office, and conformity of American law to our treaty (bi-
lateral and multilateral) responsibilities.

COMMITTEE ON GOVERNMENT OPERATIONS OVERSIGHT FINDINGS

No findings or recommendations of the Committee on Govern-
ment Operations were received as referred to in clause 2(1)(8)(D) of
rule XI of the Rules of the House of Representatives.

New BupcGet AUTHORITY AND TAX EXPENDITURES

Clause 2(1)(3)(B) of House Rule XI is inapplicable because this leg-
islation does not provide new budgetary authority or increased tax
expenditures.

CONGRESSIONAL BUDGET OFFICE CosT ESTIMATE

In compliance with clause 2()(C)(3) of rule XI of the Rules of the
House of Representatives the Committee sets forth, with respect to
the bill H.R. 5498, the following estimate and comparison prepared
by the Director of the Congressional Budget Office under section
403 of the Congressional Budget Act of 1974:

U.S. CoNGRESS,
CONGRESSIONAL BUDGET OFFICE,
Washington, DC, September 21, 1990.

Hon. Jack Brooks,
Chairman, Committee on the Judiciary,
U.S. House of Representatives, Washington, DC.

Dear Mr. CHAIRMAN: The Congressional Budget Office has re-
viewed H.R. 5498, the Copyrights Amendments Act of 1990, as or-
dered reported by the House Committee on the Judiciary, Septem-
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ber 18, 1990. We estimate that the bill would result in additional
annual costs to the Copyright Office of about $100,000. These costs
would be at least partially offset by receipts collected for the regis-
tration of copyrighted material or recordation of certain computer
software.

Title I would prohibit the rental, lease, or loan of computer soft-
ware programs for purposes of commercial advantage, with certain
exceptions. This title would require the Register of Copyrights to
establish regulations to administer this provision and to report
within three years on the effects of the bill. In addition, the Regis-
ter of copyrights would be required to record and maintain docu-
ments regarding computer shareware. Based on information from
the Copyright Office, these provisions would not result in signifi-
cant costs or additional receipts.

Title II would expand existing copyright protections to architec-
tural works. Under this title, the Copyright Office would be
charged with preparing new forms, reviewing copyright applica-
tions, and cataloging registrations. CBO estimates that these duties
would result in annual costs of about $100,000. These costs would
be offset to a significant extent by filing fees paid by persons who
wish to register copyrights for architectural works. Based on infor-
mation from the Copyright Office, these fees could total up to
$100,000 each year. However, the actual collections would depend
on the number of applications, which is very uncertain. If you wish
further details on this estimate, we will be pleased to provide them.
The staff contact is Laura Carter, who can be reached at 226-2860.

Sincerely,
Ropert D. REISCHAUER,
Director.

INFLATIONARY IMPACT STATEMENT

Pursuant to clause 2(1)(4) of rule XI of the Rules of the House of
Representatives, the Committee estimates that H.R. 5498 will have
no significant inflationary impact on prices and costs in the nation-
al economy.

CHANGES IN EXISTING Law MabE BY THE BILL, AS REPORTED

In compliance with clause 3 of rule XIII of the Rules of the
House of Representatives, changes in existing law made by the bill,
as reported, are shown as follows (existing law proposed to be omit-
ted is enclosed in black brackets, new matter is printed in italic,
existing law in which no change is proposed is shown in roman):
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TITLE 17, UNITED STATES CODE

CHAPTER 1—SUBJECT MATTER AND SCOPE OF
COPYRIGHT

Sec.
101. Definitions.
102. Subject matter of copyright: In general.

* 3 . e x * *

119, Limitations on exclusive rights: Secondary transmissions of superstations and
network stations for private home viewing.
120. Scope of exclusive rights in architectural works.

§ 101. Definitions

As used in this title, the following terms and their variant forms
mean the following:

An “anonymous work” is a work on the copies or phonore-
cords of which no natural person is identified as author.

An “architectural work” is the design of a building as em-
bodied in any tangible medium of expression, including a build-
ing, architectural plans, or drawings. The work includes the
overall form as well as the arrangement and composition of
spaces and elements in the design, but does not include individ-
ual standard features.

* *£ * * * * *
A work is a “Berne Convention work” if—
(1) + © €
x x * * = x x
(8) in the case of an audiovisual work—
( A) - e

(B) if one or more of the authors is an individual, that
author is domiciled, or has his or her habitual residence
in, a nation adhering to the Berne Convention; [or]

(4) in the case of a pictorial, graphic, or sculptural work that
is incorporated in a building or other structure, the building or
structure is located in a nation adhering to the Berne Conven-
tion[.]; or

(5) in the case of an architectural work embodied in a build-
ing, such building is erected in a country adhering to the Berne
Convention.

* * * * * * *

§ 102. Subject matter of copyright: In general

(a) Copyright protection subsists, in accordance with this title, in
original works of authorship fixed in any tangible medium of ex-
pression, now known or later developed, from which they can be
perceived, reproduced, or otherwise communicated, either directly
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or with the aid of a machine or device. Works of authorship in-

clude the following categories:
(4) x oe *

* * * * * * *

(6) motion pictures and other audiovisual works; [and]
(7) sound recordings[.]; and
(8) architectural works.

* * * *x * * *
§ 106. Exclusive rights in copyrighted works

Subject to sections 107 through [119] 120, the owner of copy-
right under this title has the exclusive rights to do and to author-
ize any of the following:

(1) xe OF

* * * * * * *

§ 109. Limitations on exclusive rights: Effect of transfer of par-
ticular copy or phonorecord

(a) * et *¥

[(b)(1) Notwithstanding the provisions of subsection (a), unless
authorized by the owners of copyright in the sound recording and
in the musical works embodied therein, the owner of a particular
phonorecord may not, for purposes of direct or indirect commercial
advantage, dispose of, or authorize the disposal of, the possession of
that phonorecord by rental, lease, or lending, or by any other act
or practice in the nature of rental, lease, or lending. Nothing in the
preceding sentence shall apply to the rental, lease, or lending of a
phonorecord for nonprofit purposes by a nonprofit library or non-
profit educational institution. ]

(bX1A) Notwithstanding the provisions of subsection (a), unless
authorized by the owners of copyright in the sound recording or the
owner of copyright in a computer program (including any tape, disk,
or other medium embodying such program), and in the case of a
sound recording in the musical works embodied therein, neither the
owner of a particular phonorecord nor any person in possession of a
particular copy of a computer program (including any tape, disk, or
other medium embodying such program), may, for the purposes of
direct or indirect commercial advantage, dispose of, or authorize the
disposal of, the possession of that phonorecord or computer program
(including any tape disk, or other medium embodying such program)
by rental, lease or lending, or by any other act or practice in the
nature of rental, lease, or lending. Nothing in the preceding sentence
shall apply to the rental, lease, or lending of a phonorecord for non-
profit purposes by a nonprofit library or nonprofit educational insti-
tution. The transfer of possession of a lawfully made copy of a com-
puter program by a nonprofit educational institution to another
nonprofit educational institution or to a faculty, staff, and students
does not constitute rental, lease, or lending for direct or indirect
commercial purposes under this subsection,

(B) This subsection does not apply to—

() a computer program which is embodied in a machine or
product and which cannot be copied during the ordinary oper-
ation or use of the machine or product; or
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(ti) @ computer program embodied in or used in conjunction
with a limited oe computer that is designed for playing
video games and may be designed for other purposes.

pe Netlog in this subsection affects any provision of chapter 9 of
this title.

(2XA) Nothing in this subsection shall apply to the lending of a
computer program for nonprofit purposes by a nonprofit library, if
each copy of a computer program which is lent by such library has
affixed to the packaging containing the program warning of copy-
right in accordance with requirements that the Register of Copy-
rights shall prescribe by regulation.

(B) Not later than three years after the date of the enactment of
the Computer Software Rental Amendments Act of 1990, and at
such times thereafter as the Register of Copyright considers appro-
priate, the Register of Copyrights, after consultation with represent-
atives of copyright owners and librarians, shall submit to the Con-
gress a report stating whether this paragraph has achieved its in-
tended purpose of maintaining the integrity of the copyright system
while providing nonprofit libraries the capability to fulfill their
function. Such report shall advise the Congress as to any informa-
tion or recommendations that the Register of Copyrights considers
necessary to carry out the purposes of this subsection.

[(2) (2 Nothing in this subsection shall affect any provision of
the antitrust laws. For purposes of the preceding sentence, “anti-
trust laws” has the meaning given that term in the first section of
the Clayton Act and includes section 5 of the Federal Trade Com-
mission Act to the extent that section relates to unfair methods of
competition.

{(8) Any person who distributes a phonorecord in violation of
clause (1) is an infringer of copyright under section 501 of this title
and is subject to the remedies set forth in sections 502, 503, 504,
505, and 509. Such violation shall not be a criminal offense under
section 506 or cause such person to be subject to the criminal pen-
alties set forth in section 2319 of title 18.]

(4) Any person who distributes a phonorecord or a copy of a com-
puter program (including any tape, disk, or other medium embody-
ing such program) in violation of paragraph (1) is an infringer of
copyright under section 501 of this title and is subject to the reme-
dies set forth in sections 502, 508, 504, 505, and 509. Such violation
shall not be a criminal offense under section 506 or cause such
person to be subject to the criminal penalties set forth in section
2319 of title 18.

* * * * * * *

(e) Notwithstanding the provisions of sections 106(4) and 106(5), in
the case of an electronic audiovisual game intended for use in coin-
operated equipment, the owner of a particular copy of such a game
lawfully made under this title, is entitled, without the authority of
the copyright owner of the game, to publicly perform or display that
game in coin-operated equipment, except that this subsection shall
not apply to any work of authorship embodied in the audiovisual
game if the copyright owner of the electronic audiovisual game is
not also the copyright owner of the work of authorship.

* * * * * * *
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$120. Scope of exclusive rights in architectural works

(a) PicroRIAL REPRESENTATIONS PERMITTED.—The copyright in
an architectural work that has been constructed does not include
the right to prevent the making, distributing, or public display of
pictures, paintings, photographs, or other pictorial representations of
the work, if the building in which the work is embodied is located
in or ordinarily visible from a public place.

(b) ALTERATIONS TO AND DESTRUCTION OF BuILDINGS.—Notwith-
standing the provisions of section 106(2), the owners of a building
embodying an architectural work may, without the consent of the
author or copyright owner of the architectural work, make or au-
thorize the making of alterations to such building, and destroy or
authorize the destruction of such building.

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CHAPTER 3—DURATION OF COPYRIGHT

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§ 301. Preemption with respect to other laws

(a) * *

(b) Nothing in this title annuls or limits any rights or remedies
under ee common law or statutes of any State with respect to—

( x oe Ok

(2) any cause of action arising from undertakings commenced
before January 1, 1978; [or]

(3) activities violating legal or equitable rights that are not
equivalent to any of the exclusive rights within the general
scope of copyright as specified by section 106[[.]; or

(4) State and local landmarks, historic preservation, zoning,
or building codes, relating to architectural works protected
under section 102(aX8).

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